AO 91 (Rev. ll/ll) Criminal Complaint

UNITED STATES DISTRICT CoURT ASHEV'FFE- N-C-
for the JUN 08 2018

Western District of North Carolina

 

U.S. D|STR|CT COURT
United States of America ) W- olST. OF N.C.
v. ) _ _
) CaseNo. l,|§ m\) Q?'
)
)
Francisco Escami||a Vi||a )
)
Defendant(s)
' CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of JUH€ 7. 2018 in the county of |V|HCOF\ in the

 

Western District of North Caro|ina , the defendant(s) violated:

Coa'e Section O]j%nse Description

18 U.S.C. Sectlon 922(9)(5) lt shall be unlawful for any person who being an alien is illegally or unlawfully
in the United States to receive, possess, or transport any firearm or
` ammunition in or affecting interstate or foreign commerce`.

8 U.S.C. Section 1325(a) (a petty ll|ega| Entry.
offense)

This criminal complaint is based on these facts:

See Attached Affidavit

Ef Continued on the attached sheet.

     

Comp/ainant ’s signature

hua D. Stewart , Task Force Officer

Printed name and title

 

Sworn to before me and signed in my presence.

Date: `_Buw.g fg:®t<¢>'/ ' g ng_w\\. QSS§&§Q§§_
_ Judge ’s signatur

City and State; Ashevi||el North Caro|ina Dennis L. HoWe||l United States |V|agistrate Judge

Printed name and title

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Case 1:18-mj-00067-DLH Document 1 Filed 06/08/18 Page 1 of4 -

 

 

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

AFFIDAVIT

I, Joshua Stewart, Task Force Officer, Homeland Security Investigations, being duly sworn, state
the following:

l. I am a “federal task force officer” within the meaning of Title 18, United States
Code, Section 2510(7), that is, an officer of the United States who is empowered to conduct
investigations of, and make arrests for, the offenses enumerated in Title 18, l9, 21, 22, 31, United
States Code and other related offenses

2. I am a Task Force Officer with the United States Immigration and Customs
Enforcement (ICE), Homeland Security lnvestigations (HSI). I have been sworn as a Task Force
Officer with Homeland Security lnvestigations since March 2018. I am a Narcotics Detective with
the Macon County Sheriff’ s Office. I have been so employed from May 2010, to the present. l
am currently assigned to the HSI Hendersonville, North Carolina office. As part of my official
duties, I have participated in the investigation of offenses involving illegal exports and imports,
international drug smuggling, customs and immigration fraud, bulk cash smuggling and financial
crimes, human smuggling and trafficking, intellectual property rights (IPR) violations, and the
sexual exploitation of minors

3. The information contained in this affidavit is based on my personal participation in
this investigation and from information provided to me by other law enforcement officers Since
this affidavit is being submitted for the limited purpose of establishing probable cause to support
the arrest of Francisco Escamilla VILLA (hereinafter referred to as VILLA), I have not included
each and every fact known to me concerning this investigation and have set forth only those facts
that I believe are necessary for said purpose.

4. The Macon County Sheriff’ s Office (MCSO) has been actively investigating
VILLA for methamphetamine trafficking from Atlanta, Georgia since the spring of 2017. MCSO
has obtained information from confidential informants, witnesses, neighbors and co-conspirators
that VILLA makes frequent trips from his residence at 948 Highway l9, Topton, North Carolina,
to the Atlanta, Georgia area to pick up large amounts of methamphetamine and transport these
drugs back to North Carolina to process, sell and deliver them. MCSO has obtained information
that VILLA is in the possession of numerous firearms MCSO has obtained information that
VILLA is an alien living illegally in the United States

5. On June 7, 2018, HSI, Hendersonville, NC and the Macon County Sheriff’ s Office
conducted a surveillance and enforcement action in which VILLA was observed at his residence
of 948 Highway 19 Topton, NC 28781. VILLA was observed to enter a black colored passenger
vehicle and leave the residence and travel on Highway 19. Det. Matthew Breedlove with MCSO
initiated a traffic stop of VILLA approximately one mile from his residence for moving violations

1

Case 1:18-mj-00067-DLH Document 1 Filed 06/08/18 Page 2 of 4

Upon initiating the stop, Det. Breedlove observed that VILLA was traveling alone in a black KIA
Forte with Georgia registration plate RHX5278. VILLA does not have a valid North Carolina
driver’s license.

6. A strong odor of marijuana resonated from VILLA’s person and vehicle. VILLA
was removed from the vehicle and a pat down for weapons was conducted VILLA consented to a
further pat down revealing over $3,000 in United States currency in his pants pocket. VILLA stated
that the money was to pay his rent. VILLA initially stated his rent was $1,100 and he was traveling
to his landlord’s house to pay the rent. VILLA changed his statement to his rent was $3,000
because he owed for last month as well. VILLA pointed out the house that he stated belonged to
his landlord and that he intended to pay rent there.

7. Lt. Willis with MCSO talked with a resident within the residence VILLA advised
he was travelling to and the resident stated that he knew VILLA but knew nothing of rent money.
A search was conducted of the vehicle of which VILLA was driving and a marijuana vapor pen
was located within it. VILLA stated that he smokes marijuana. Without being asked to do so,
VILLA offered to take MCSO Detectives and HSI TFO to his residence and allow them to search
it. VILLA was transported by MCSO, unrestrained, to his residence at 948 Highway 19, Topton,
North Carolina, where he Was read and signed a permission to search form, thereby consenting to
allow officers to enter and search his home and its curtilage.

8. l talked with VILLA before searching the residence and observed VILLA to be
fluent in English. VILLA stated that he has been living in the United States since he was 17 years
old. There Were no Spanish speaking officers available on scene. While talking with me outside
the residence in a non-custodial, consensual interview, VILLA stated that there were firearms
located within the residence along with $5,000 in United States currency inside a safe. As
previously described, VILLA read and signed a permission to search form and consented for
officers on scene to enter and search his residence and curtilage. Officers searched the residence
and curtilage and found the following firearms: '

(l) Maverick Model 88, 12 Gauge Shotgun, S/N MV0113886.

(2) Charles Daly, 12 Gauge Shotgun, S/N 7503661.

(3) Ruger Model 10-22 Rifle, .22 LR caliber, S/N 251-55913.

(4) Marlin Model SOW Rifle, .22 LR caliber, S/N 10483468.

(5) Marlin Glenfield Model 60 .22 LR caliber, S/N 21468926.

(6) Ruger LCP Semi-automatic Handgun, .380 ACP caliber, S/N 371385470.

(7) Smith & Wesson Model SD4OVE Semi-automatic Handgun, .40 S&W caliber S/N HFU5316.

(8) North America Arrns 5 Shot Revolver, .22 LR Caliber, S/N V08403.

2

Case 1:18-mj-00067-DLH Document 1 Filed 06/08/18 Page 3 of 4

9. All firearms appeared functional. My preliminary research indicates that some or
all of these firearms were manufactured outside of North Carolina. VILLA stated that the firearms
belonged to him and that he had bought, sold, and traded firearms VILLA stated that he did not
know that it was illegal for him to do that. VILLA stated that the firearms were for his personal
protection as he had many people attempt to steal from him. One of the firearms was located 1n a
safe which VILLA opened by inputting the combination All the seized firearms were located 1n
either VILLA’ s bedroom, living room, and/or within an outside locked building. $5, 000 in U. S.
currency was seized from within the safe located in the living room of the residence and an
additional $979 was found in a white bucket located inside VlLLA’s bedroom within the residence

10. VILLA was arrested by MCSO Det. Breedlove for possession of marijuana, drug
paraphemalia, and driving infractions and transported to the MCSO Detention Center for
processing by MCSO. HSI Special Agent Klarisa Zaffark, who is a fluent Spanish speaker, made
contact telephonically with VILLA in regards to his immigration status VILLA advised SA
Zaffark that he was illegally living within the United States and has been since he Was 17 years
old.

ll. Based on the above information, your Affiant has probable cause to believe that
Francisco Escamilla VILLA did knowingly enter the United States at an improper time or place
other than as designated by immigration officers, in violation of Title 8, United States Code,
Section 1325 (a), and while being an alien illegally or unlawfully present in the United States, did
have a firearm in his possession and or control in violation of Title 18, United States Code, Section

922(§)(5)-

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¢(ua D. Stewart
' ._~. Force Officer

Homeland Security lnvestigations

Sworn to and subscribed before me this Q`Wday of June, 2018.

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DENNIS L. HOWELL
UNITED STATES MAGISTRATE JUDGE
WESTERN DISTRICT OF NORTH CAROLINA

3

Case 1:18-mj-00067-DLH Document 1 Filed 06/08/18 Page 4 of 4

 

